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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA


                                     MEMORANDUM



Honorable Morrison C. England, Jr.          RE: Michael A. Mendoza, Sr.
United States District Judge                    Docket Number: 0972 2:03CR00315-003
Sacramento, California                          PERMISSION TO TRAVEL
                                                OUTSIDE THE COUNTRY

Your Honor:


Michael A. Mendoza, Sr. is requesting permission to travel to Puerto Vallarta, Mexico. Michael
A. Mendoza, Sr. is current with all supervision obligations, and the probation officer
recommends approval be granted.


Conviction and Sentencing Date: On July 13, 2004, Michael A. Mendoza, Sr. was sentenced
for the offenses of 21 USC 846 & 841(a)(1) – Conspiracy to Distribute and Possess with Intent
to Distribute Methamphetamine, After a Prior Felony Conviction for a Drug Offense.


Sentence Imposed: 131 months custody of the Bureau of Prisons; 60 months Supervised
Release; $100 Special assessment (Paid).


Dates and Mode of Travel: April 1, 2017, through April 16, 2017. Travel reservations will be
secured upon Court approval.


Purpose: Family vacation, travelling with wife and children.




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                                                                                               REV. 06/2015
                                                                TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Michael A Mendoza Sr
         Docket Number: 0972 2:03CR00315-003
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                    Respectfully submitted,

                                       /s/ Tim Mechem

                                      TIM D. MECHEM
                          Supervising United States Probation Officer


Dated:    February 21, 2017
          Fresno, California
          TDM/rmv
                             /s/ Brian J. Bedrosian
 REVIEWED BY:              BRIAN J. BEDROSIAN
                           Supervising United States Probation Officer




                                ORDER OF THE COURT

          ☒     Approved        ☐      Disapproved

Dated: February 27, 2017




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                                                                                               REV. 06/2015
                                                                TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
